     Case:21-03391-ESL13 Doc#:35 Filed:02/15/22 Entered:02/15/22 16:26:19     Desc: Main
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 1                      IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
       IN RE:                                  CASE NO. 21-03391-ESL13
 4     SEBASTIAN NEGRON TORRES                 Chapter 13

 5

 6
       xx-xx-1010
 7
                     Debtor(s)                      FILED & ENTERED ON FEB/15/2022
 8

 9
                                            ORDER
10
            Debtor’s Objection to Claim #2 filed by the Department of Treasury (Docket
11
      Entry #15), having been duly notified to all parties in interest, and no timely
12
      replies or objections having been filed, it is now
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            ORDERED that said motion be and it is hereby granted. Proof of claim
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      number 2 is allowed as a general unsecured claim for the amount filed.
15
            IT IS SO ORDERED.
16
            In San Juan, Puerto Rico, this 15 day of February, 2022.
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